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 4 valerie@yanaroslaw.com

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 7
 8                                 UNITED STATES DISTRICT COURT

 9                                FOR THE DISTRICT OF CALIFORNIA

10
11 Dustin Neff, an individual,                        ) Case No.: 3:23-cv-02518-JD
                                                      )
12                               Plaintiff,           ) FIFTH STIPULATION OF TIME TO
                                                      ) RESPOND TO COMPLAINT
13         vs.                                        )
                                                      )
14                                                    ) Complaint Filed: May 24, 2023
   SBA Entertainment, LLC, a Colorado                 )
15 limited liability company; Goode                   )
   Enterprise Solutions Inc., a Colorado              )
16 corporation; and Does 1-10, inclusive,             )
                                                      )
17                                                    )
                                                      )
18                           Defendants.              )
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                                 FIFTH STIPULATION FOR EXTENSION OF TIME
           Case 3:23-cv-02518-JD Document 24 Filed 11/02/23 Page 2 of 4




 1          IT IS HEREBY STIPULATED by and between Plaintiff, Dustin Neff (“Plaintiff”), and
 2 Defendant, Goode Enterprise Solutions Inc. (“GES”), by and through their respective counsel, that
 3 pursuant to Federal Rule of Civil Procedure 6(a), and Local Rule 6-1, GES may have to and
 4 including November 9, 2023, to file a responsive pleading in this matter, as the parties are engaging

 5 in settlement negotiations and GES is preparing to proceed pro se in this matter. This does not alter
 6 the date of any event, or any deadline already scheduled by the Court, and this is the fifth extension
 7 provided by Plaintiff.
 8
 9 Date: November 2nd, 2023.                            Respectfully submitted,
                                                        /s Valerie A. Yanaros, Esq.
10                                                      Valerie Yanaros, Esq.
                                                        Texas Bar No. 24075628
11                                                      Applying to Appear Pro Hac Vice in
                                                        the Northern District Court of
12                                                      California
                                                        Yanaros Law, P.C.
13                                                      8300 Douglas Avenue Suite 800
                                                        Dallas, Texas 75225
14                                                      Telephone: (512) 826-7553
                                                        valerie@yanaroslaw.com
15
                                                         ATTORNEY FOR DEFENDANT GES
16
                                                    /s Frank R. Trechsel, Esq./__________________
17                                                       Scott Alan Burroughs, Esq.
                                                         Frank R. Trechsel, Esq.
18                                                       DONIGER/BURROUGHS
19                                                       ATTORNEYS FOR PLAINTIFF
20
                                               ATTESTATION
21
22 Concurrence in the filing of this document has been obtained from each of the individual(s) whose
23 electronic signature is attributed above.
24                                               By_ /s/ Valerie Yanaros__________
                                                 Valerie Yanaros
25                                               Attorney for Defendant,
26                                               Goode Enterprise Solutions, Inc.

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                                FIFTH STIPULATION FOR EXTENSION OF TIME
          Case 3:23-cv-02518-JD Document 24 Filed 11/02/23 Page 3 of 4




 1         IT IS SO ORDERED, Defendant, GES, shall have up to and including
 2 November 9, 2023, to file a responsive pleading.
 3
     DATE: _________________                              ___________________________
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                                                         United States District Court Judge
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                              FIFTH STIPULATION FOR EXTENSION OF TIME
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 1
                                     CERTIFICATE OF SERVICE
 2          I hereby certify that on November 2nd, 2023, the foregoing document was filed with the
 3
     clerk of the court for the U.S. District Court, Northern District of California, using the electronic
 4
     case filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
 5
     to all attorneys of record who have consented in writing to accept this Notice as service of
 6
     documents by electronic means, including:
 7
 8 Scott Alan Burroughs (SBN 235718)
   scott@donigerlawfirm.com
 9 Frank R. Trechsel (SBN 312199)
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10 DONIGER / BURROUGHS
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11
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12 Telephone: (310) 590-1820
   Attorneys for Plaintiff
13
14                                                         /s/ Valerie Yanaros, Esq.
15                                                        VALERIE YANAROS, ESQ.

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                                 FIFTH STIPULATION FOR EXTENSION OF TIME
